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 6                                       UNITED STATES DISTRICT COURT

 7                                    EASTERN DISTRICT OF CALIFORNIA

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 9   BEL AIR MART, a California corporation                    Case No. 2:10-CV-02392 MCE-EFB
     and WONG FAMILY INVESTORS, L.P.,
10                                                             ORDER APPROVING MOTION OF
                           Plaintiffs,                         PLAINTIFFS BEL AIR MART AND WONG
11                                                             FAMILY INVESTORS, L.P., AND
                 v.                                            DEFENDANTS RALPH ARMSTRONG,
12                                                             YOLANDA PANATTONI, ARNOLD
     ARNOLD CLEANERS, INC.; et al.,                            CLEANERS, INC., HAN HOI JOO AND
13                                                             PETER KIM FOR LIMITED STAY OF
                           Defendants.                         LITIGATION
14
                                                               Date:      May 31, 2012
15                                                             Time:      2:00 p.m.
                                                               Courtroom: 7
16
                                                               The Honorable Morrison England, Jr.
17

18               The Motion for a Limited Stay filed by Plaintiffs Bel Air Mart and Wong Family

19   Investors, L.P., and Defendants Ralph Armstrong, Yolanda Panattoni, Arnold Cleaners, Inc., Han

20   Hoi Joo, Chang Sun Joo, and Peter Kim (collectively the “Moving Parties”), came before this

21   Court for hearing on May 31, 2012. That Motion, attached as Exhibit A to the Declaration of

22   Robert P. Soran in support of Plaintiffs’ Application to hear the Motion on shortened time (ECF

23   No. 129-1), was deemed filed at the time this Court granted Plaintiffs’ Application on May 18,

24   2012. After full consideration of the papers filed both in support of and in opposition to

25   Plaintiffs’ Motion, and good cause appearing therefore, IT IS HEREBY ORDERED that the

26   Motion for a Limited Stay is GRANTED.1

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      Because oral argument was not of material assistance, the Court ordered this matter submitted on the briefs in
28   accordance with Local Rule 230(g).
     1234930.1                                                1
                               [PROPOSED] ORDER GRANTING MOTION FOR LIMITED STAY
     Case 2:10-cv-02392-MCE-EFB Document 143 Filed 06/05/12 Page 2 of 4

 1               The Court finds that a limited stay of the litigation through and including October 31,
 2   2012, is justified and appropriate.
 3               IT IS HEREBY ORDERED that this action is immediately STAYED through and
 4   including October 31, 2012 (“Stay Period”), subject to the following terms and exceptions:
 5               1.     The parties to this litigation may serve subpoenas to “unrelated third parties”2 that
 6   are directed solely to:
 7                      a.     The location of insurance agreements under which a party may
 8                             assert that an insurance business may be liable to satisfy all or part
 9                             of a possible judgment in the action or to indemnify or reimburse for
10                             payments made to satisfy the judgment; or
11                      b.     The location of any currently named defendants in the present
12                             litigation (including, in the case of named “deceased” defendants,
13                             their respective insurance carrier(s) who may be identified as a party
14                             pursuant to Probate Code Section 550) who have not yet been
15                             served in this action.
16               2.     The parties may serve deposition notices to, and conduct depositions (or a
17   mutually agreeable discovery alternative to deposition) of any individual for the purpose of
18   preserving testimony where there is a substantial increased risk of unavailability of the deponent
19   to testify at the time of trial, such as where the individual is of advanced age or in poor health.
20               3.     The parties may complete service of their respective previously filed complaint or
21   counterclaims against any remaining named defendants that have not yet been located and served,
22   including but not limited to any alleged insurers of any named “deceased” defendants pursuant to
23   Probate Code Section 550.
24               4.     Any person or entity that is served with the Plaintiffs’ First Amended Complaint
25   2
       For purposes of this Order, “unrelated third parties” means any person or entity that is both: (1) not currently named
     in the present litigation as of the date the motion was filed by the parties; and (2) not a past or present principal, board
26   member, trustee, officer, director, shareholder, partner, employee, contractor, subcontractor, parent corporation,
     subsidiary, predecessor, or successor of a party currently named in the present litigation. Separate insurance
27   businesses that a party may contend are liable to satisfy all or part of a possible judgment in the action or to
     indemnify or reimburse for payments made to satisfy the judgment are expressly considered to be “unrelated third
28   parties”.
     1234930.1                                                    2
                                 [PROPOSED] ORDER GRANTING MOTION FOR LIMITED STAY
     Case 2:10-cv-02392-MCE-EFB Document 143 Filed 06/05/12 Page 3 of 4

 1   (“Complaint”) or previously filed counterclaims during the Stay Period must timely file a
 2   responsive pleading thereto in accordance with the deadlines set forth in the Federal Rules of
 3   Civil Procedure and applicable local rules. Any response required to any responsive pleading,
 4   including any counterclaims or cross claims filed by a newly served person or entity, will be
 5   stayed for the remainder of the Stay Period and due no later than 30 days after the expiration of
 6   the Stay Period.
 7               5.   Except as specifically provided for in paragraphs 1-4, above, any and all pending
 8   discovery including, but not limited to, deposition notices and written discovery requests
 9   presently noticed by the parties to this present litigation, is stayed. Any responses to written
10   discovery stayed by the Court pursuant to this Order shall be served within 30 days of the
11   expiration of the Stay Period, unless the response period is otherwise extended further by
12   agreement of the party propounding the discovery; and any deposition previously noticed may be
13   re-noticed for a date not earlier than 30 days after the expiration of the Stay Period. All rights and
14   objections to any discovery referenced above are maintained by the parties and may be timely
15   asserted after the Stay Period has expired.
16               6.   Plaintiffs shall be allowed to continue physical site investigation associated with
17   the environmental contamination alleged in this matter, as may be approved by the Central Valley
18   Regional Water Quality Control Board. Plaintiffs shall keep Defendants reasonably informed of
19   all such physical site investigations, and shall provide Defendants notice and the opportunity to
20   observe the investigations.
21               7.   Counsel for the parties, including any parties subsequently served in accordance
22   with the Court’s Order, shall meet and confer 90 days from the date of this Order to provide an
23   update on: (a) the location of additional insurance agreements under which a party may assert that
24   an insurance business may be liable to satisfy all or part of a possible judgment in the action or to
25   indemnify or reimburse for payments made to satisfy the judgment of any party; (b) timing for the
26   completion of any remaining physical site investigation conducted by Plaintiffs per paragraph 6,
27   above; and (c) the possibility of the parties pursing alternative dispute resolution (i.e., mediation)
28   within the Stay Period.
     1234930.1                                         3
                             [PROPOSED] ORDER GRANTING MOTION FOR LIMITED STAY
     Case 2:10-cv-02392-MCE-EFB Document 143 Filed 06/05/12 Page 4 of 4

 1                         8.    Plaintiffs may have heard by the Court their April 27, 2012, Motion for a further
 2   extension of time in which to serve defendants named in Plaintiffs’ First Amended Complaint in
 3   the Present Litigation.
 4                         9.    The Stay Period provided by the Court shall not be considered, and each party
 5   agrees not to assert, plead or raise in any fashion any defense or avoidance based upon the
 6   expiration or running of any statute of limitations or any defense based upon laches, estoppel or
 7   the lapse or passage of time to occur during the Stay Period provided by this Order.
 8                         10.   If any party seeks relief from this stay, prior to seeking relief from the Court, the
 9   party seeking such relief from the stay shall be required to meet and confer with the other parties
10   to the present litigation regarding the request for relief from the stay and attempt to informally
11   resolve the matter prior to filing a request for relief.
12                         11.   A further joint status report from the parties is due on November 14, 2012 – two
13   weeks following the expiration of the Stay Period provided by this Order.
14                         12.   All other litigation proceedings not specifically herein excepted are stayed through
15   and including October 31, 2012.
16
     Dated: June 4, 2012
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18                                                         __________________________________
                                                           MORRISON C. ENGLAND, JR
19                                                         UNITED STATES DISTRICT JUDGE

20   DEAC_Signature-END:




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     1234930.1                                                     4
                                        [PROPOSED] ORDER GRANTING MOTION FOR LIMITED STAY
